
CONSENT ORDER
This matter having been opened to the Court by the Director of the Office of *301Attorney-Ethics and with the consent of GREGORY G. STAGIANO, formerly of MEDIA, PENNSYLVANIA, who was admitted to the bar of this State in 1983, to be transferred to disability inactive status pursuant to Rule 1:20-12;
And the Office of Attorney Ethics and respondent having agreed that respondent lacks the capacity to practice law;
And good cause appearing;
It is ORDERED that GREGORY G. STAGLIANO is hereby transferred to disability inactive status, effective immediately, and until the further Order of the Court; and it is further
ORDERED that GREGORY G. STAGLIANO is hereby restrained from practicing law during the period that he remains on disability inactive status; and it is further
ORDERED that GREGORY G. STAGLIANO comply with Rule 1:20-20 governing incapacitated attorneys.
